15 F.3d 1160
    304 U.S.App.D.C. 429
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Kevin WILSON, Appellant.
    No. 92-3255.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 10, 1994.
    
      Before:  SILBERMAN, BUCKLEY and GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the judgment of the district court be affirmed.  Notwithstanding appellee's failure to present evidence of the presence of the "hydroxyl radical" in the substance seized from appellant, the uncontradicted "testimony of a qualified expert who positively identified the substance tested as cocaine base" was sufficient to support appellant's conviction for possession of cocaine base.   See United States v. Gaulteau, 4 F.3d 1003, 1004 &amp; n. 1 (D.C.Cir.1993) (per curiam).  Furthermore, assuming the DEA-7 form is hearsay, its admission was harmless error because it was merely cumulative of chemist Town's testimony.   United States v. Smith, 964 F.2d 1221, 1224 (D.C.Cir.1992).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    